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Subject:    RE: Claim GC-10806
Date:       Thursday, February 15, 2018 at 10:00:21 AM Hawaii-AleuBan Standard Time
From:       Simpson, Darrell <Darrell.Simpson@united.com>
To:         Colby Johnson <colbyevelynn@gmail.com>

Good morning, Ms. Johnson:

Thank you for your counteroffer as well as the opportunity to respond at this time. While we certainly
respect your position, Ms. Johnson, we respectfully advise that our offer of $1,350.00 per person
remains unchanged and will remain valid until 5PM CST on February 22, 2018.

Please note that you may be receiving a response from a United DOT Specialist in response to the
communication you sent to the DOT regarding your travel with United Airlines.

Best regards,

Darrell Simpson
Analyst – Corporate Insurance

United Airlines | 609 Main Street, 18th Floor | HSCCI | Houston, TX 77002
Phone: (346) 265-4238 | Email: darrell.simpson@united.com

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original message and all copies.


From: Colby Johnson [mailto:colbyevelynn@gmail.com]
Sent: Thursday, February 08, 2018 10:04 PM
To: Simpson, Darrell
Subject: Re: Claim GC-10806

Hi Mr. Simpson,

Thank you for your response to my email. We are oﬀering a counter-oﬀer of $250,000.00 per person to seUle
this claim. Please understand that this oﬀer will expire on February 15, 2018.

Thank you for your aUenBon to this maUer.

Best,

Colby

On Feb 5, 2018, at 11:37 AM, Simpson, Darrell <Darrell.Simpson@united.com> wrote:




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                                                            EXHIBIT 4
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    Dear Ms. Johnson:

    Thank you for your most recent email as well as the opportunity to respond at this time.
    As the adjuster assigned to this matter, I have been asked to respond on behalf of
    United Airlines.

    As such, in response to your demand of $4,000,000.00 per claim, we are willing to
    extend a gesture of goodwill in the amount of $1,350.00 per person. This offer will
    remain valid for 5 days from the date of this email. Should you wish to accept this offer,
    please advise at your earliest convenience and we will send the appropriate
    documentation for execution.

    Should you have any questions, please do not hesitate to contact me. Please note that
    my telephone number will change on February 8, 2018 at 3 PM CST to (346) 265-
    4238 and (713) 324-5211 will no longer be active.

    Best regards,

    Darrell Simpson
    Corporate Insurance - Analyst

    United I 1600 Smith Street I Houston TX 77002
    Tel: (713) 324-5211* I darrell.simpson@united.com
    www.united.com

    *AFTER FEB. 8th, MY CONTACT NUMBER WILL BE (346) 265-4238

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    From: Colby Johnson [mailto:CJohnson@aldridgepite.com]
    Sent: Friday, February 02, 2018 2:32 PM
    To: Nottestad, Andrew
    Cc: Hart, Greg; Simpson, Darrell
    Subject: Claim GC-10806

    Hello Mr. NoUestad,

    I have been in contact with United Airlines in an aUempt to resolve an incident that was
    documented by Mr. Darrell Simpson in Claim GC-10806. I have been forthcoming with Mr.
    Simpson with all informaBon requested of me, including a seUlement demand. The seUlement
    demand Mr. Simpson requested was sent on January 20, 2018. He failed to conﬁrm his receipt




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    demand Mr. Simpson requested was sent on January 20, 2018. He failed to conﬁrm his receipt
    of my email and has since ignored my emails and phone calls asking for conﬁrmaBon or a status.


    Therefore, I am contacBng you because I fully intend to ﬁle a Complaint against United Airlines,
    alleging, in part, negligent operaBon as a common carrier and negligence per se for United’s
    violaBons of 14 C.F.R. § 135.121 for the improper serving of alcoholic beverages, 49 C.F.R. §
    1544.303 for the improper handling of bomb or air piracy threats, and for failure to report these
    incidents to the FAA within the proscribed Bmeline (among other claims for relief).

    Once liBgaBon has commenced, seUlement of these claims will be oﬀ the table. I am wriBng to
    aﬀord United the opportunity to seUle these claims prior to the commencement of liBgaBon as
    well as the accompanying full media release of what occurred on UA Flight 1589. It is my
    posiBon that United will lose a substanBal amount of goodwill should these claims be subjected
    to public scruBny.

    Please understand that should I not receive a response by EOB Tuesday, February 6, 2018, I will
    move forward with a MoBon for DeposiBon Before AcBon and for the ExaminaBon of Discovery
    on an Emergency Basis. Please note that an FOIA request has already been submiUed to the
    FAA to obtain any and all incident reports relaBng to Flight UA 1589.

    Please feel free to contact me at my direct number or respond to this email. I appreciate your
    prompt aUenBon to this maUer.

    Best,

    Colby E. Johnson*
    Associate A*orney
    Aldridge | Pite, LLP
    810 Richards Street, Suite 700
    Honolulu, HI 96813
    Main Oﬃce: (808) 599-9369
    Direct Dial: (808) 265-5859
    Direct Fax: (808) 412-2718
    cjohnson@aldridgepite.com
    Alabama | Alaska | Arizona | California | Florida | Georgia | Hawaii | Idaho | Illinois | Nevada
    | New Jersey | New Mexico | New York | North Carolina | Oregon | Pennsylvania | Tennessee
    | Texas | Utah | Washington
    *Licensed in Hawaii



    This is an attempt to collect a debt by a debt collector, and any information obtained
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